US. DistRIC (OMRASEDSIABY nj-O0632-TWD Document 1 Filed 10/31/23 Page 1 of 9

FILED

AQ 9} (Rev. 11/11) Criminal Complaint
UCTS 2 S| UNITED STATES DISTRICT COURT
: for the
AT___ O'CLOCK

Northern District of New York

an M, Domurad, Clerk - Syracuse

ERICA

PATRICK DAI,

Case No. 3:23-MJ- G32 (7we \

Defendant.

CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief. On
or about the date(s) of 10/29/23 in the county of Tompkins in the Northern District of New York, and elsewhere,

the defendant violated:

Code Section Offense Description

Title 18, United States Code, Section Making a Threat Using Interstate Communications
875(c)

This criminal complaint is based on these facts:
See attached affidavit

&] Continued on the attached sheet. Oy 7

Complainant's si ‘gnature
Michael Renn, Special Agent

Printed name and title

Attested to by the affiant in accordance with Rule 4.1 of t

Date: 10/31/2023

Judges signature

City and State: Syracuse, New York Hon. Thérése Wiley Dancks, U.S. Magistrate Judge

Printed name and title
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AFFIDAVIT IN SUPPORT
OF A CRIMINAL COMPLAINT.

I, Michael Renn, being first duly sworn, hereby depose and state as follows:
INTRODUCTION AND AGENT BACKGROUND

l. I make this affidavit in support of a criminal complaint charging Patrick Dai with
making threatening statements in violation of Title 18, United States Code, Section 875(c).

2. I am a Special Agent with the FBI and have been so since 2017. As such, J am an
officer of the United States empowered by law to conduct investigations of and to make arrests for
offenses enumerated in Titles 18 and 21 of the United States Code. I am currently assigned to the
Joint Terrorism Task Force (“JTTF”) where my primary responsibility is conducting national
security investigations involving matters of international and domestic terrorism. Prior to
employment with the FBI, I was employed as a United States Border Patrol Agent from 201 1 to
2017. Throughout my employment as a federal law enforcement officer, I have received extensive
training and I have gained experience in interviewing and interrogation techniques, arrest
procedures, search warrant applications, the execution of searches and seizures, examination of
digital and physical evidence, and various other criminal laws and procedures.

3. The facts in this affidavit come from my personal observations, my training and
experience, and information obtained from other agents, witnesses, and agencies. This affidavit
is intended to show merely that there is sufficient probable cause to believe that Dai has violated
18 U.S.C. § 875(c).

PROBABLE CAUSE

4, On October 29, 2023, the FBI received a call from the Cornell University Police

regarding an internet post on October 29, 2023, at approximately 3:00 PM on Website 1. According

to the information provided by the Cornell Police Department, the post stated, “gonna shoot up
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104 west.” The post also had the phrase “allah akbar.” By the time Cornell University Police
reported the incident to the FBI, the post had been taken down. According to further information
provided by Cornell University Police and other public information, 104 West is a Cornell
University dining hall that caters predominantly to Kosher diets and is located next to the Cornell
Jewish Center, which provides residences for Cornell students.

5. On the same date, the FBI received a tip-line referral regarding several threatening
statements made towards Jewish students at Cornell University. According to the tipster, the
threats were made on the Cornell section of Website 1. Website 1 is a discussion site about
fraternities and sororities on different college campuses. Website | allows users to select a specific
college and enter a discussion forum that permits users to make posts, typically concerning that
college. These posts were in the Comell University discussion forum. Based on the observations
made by the tipster, these posts made threats of “Jihad” and references to “blowing up the student
center.” The tipster also was aware that the individual making the posts on the website has used
usernames/screennames including — “kill jews,” “Jew Crimes,” “hamas soldier,” and more. The

FBI received numerous additional notifications regarding the same threatening statements.
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Multiple screenshots of the posts made on the Cornell section of Website | were sent to the FBI
for review. The following posts were reported to the FBI:
e Post #1 entitled “Jewish people need to be killed,” was posted by “Jew Evil” on October

28, 2023, at 5:39 p.m. Eastern Time. A screenshot of the post is set forth below:

jewish people need to be killed

if you see a jewish “person” on campus follow
them home and slit their throats. rats need to be
eliminated from cornell

Posted By: jew evil
Oct 28, 2023 5:39:06 PM

0 ¢ 4 & 73 Views Report

e Post #2 entitled “Watch out Jews,” was posted by “hamas soldier” on October 28, 2023, at

7:34 p.m. Eastern Time. A screenshot of the post is set forth below:

watch out jews.

watch out pig jews. jihad is coming. nowhere is safe.
your synagogues will become graveyards. your women
will be raped and your children will be beheaded. glory

to Allah.
Posted By: hamas soldier
Oct 28, 2023 7:34:27 PM
4 14°64 170 Views

Report
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e Post #3 entitled “if i see another jew,” was posted by user “hamas” on October 29, 2023,

at 11:24 a.m. Eastern Time. A screenshot of the post is set forth below:

if i see another jew

if i see another jew on campus...if i see a pig male jew i will stab you and slit your throat. if | see another
pig female jew i will drag you away and rape you and throw you off a cliff. if isee another pig baby jew i
will behead you in front of your parents. if i see another synagogue another rally for the zionist globalist

genocidal apartheid dictatorial entity known as “israel”, i will bring an assault rifle to campus and shoot all
you pig jews. jews are human animals and deserve a pigs death. Liberation by any means. Fram the river to

the sea, Palestine will be free!

e Post #4 entitled “Gonna Shoot up 104 West,” was posted by user “kill jews” on October

29, 2023, at 3:16 p.m. Eastern Time. A screenshot of the post is set forth below:

gonna shoot up 104 west

allahu akbar! from the river to the sea, palestine
will be free! glory to hamas! liberation by any
means necessary!

Posted By: kill jews
Oct 29, 2023 3:16:01 PM

Og 19 @ 427Views Report

6. On October 30, 2023, based on the information contained in the posts referenced
above, the FBI submitted an emergency disclosure request to Website 1 to obtain and identify
subscriber information associated with the individual or individuals making the posts. Per Website

1, the only identifiable information available for each of the posts were associated internet protocol
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(IP) addresses. Website | indicated that Post #3 (above) was associated with a particular IP address
(“IP Address 1”). Website 1 notified the FBI that the IP information associated with the other posts
had inadvertently been deleted from their systems. However, Website | informed the FBI that Post
#4, and the content therein, had been previously posted on October 26, 2023, at 3:31 p.m. Eastern
Time. The IP address associated with that post was identified as a different IP address (“IP Address
2”).

7. According to law enforcement databases and open-source tools, IP Address 1 is
attributed to internet service provider (ISP) Charter Communications (also doing business as
Spectrum) and geo-located to the Pittsford, New York area. The same queries were conducted for
IP Address 2, which revealed it also is attributed to Charter Communications and geo-located to
the Ithaca, New York area.

8. Based on further discussions with Website 1, multiple other posts were identified

as having been posted to the Cornell University section of the website by an individual using IP
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Address 1, the same IP address as associated to the above-mentioned posts. The additional posts

associated by IP Address 1 were provided to the FBI and listed below (in chronological order):

Date: 2023-10-28 07:17:46 IP: 67.246.242.17

School: Cornell University - CU

Author: sieg heil

Title:

Content: preach, brother! all jews are sub human animals and must be killed as such! the
zionist entity will be destroyed!

Date: 2023-10-28 17:37:39 IP: 67.246.242.17

School: Cornell University - CU

Author: 50 shekels

Title:

Content: jewish people are some of the most greedy, violent, genocidal creatures on this
planet. no bettee than animals

Date: 2023-10-28 20:02:15 IP: 67.246.242.17

School: Cornell University - CU

Author: glorious hamas

Title:

Content: i will find you and your family. i will rape your wife in front of you before slitting
her throat. i will behead your children and bathe you in their blood. die, nazi zionist
genocidal jewish scum.

Date: 2023-10-28 20:16:07 IP: 67.246.242.17

School: Cornell University - CU

Author: pig k¥s

Title:

Content: as long as the target is sub human like a zionist jew-woman then ripe is allowed
and encouraged by the quran. Mashallah

Date: 2023-10-28 20:17:30 IP: 67.246.242.17

School: Cornell University - CU

Author: jew evil

Title:

Content: Yes Brother! The evil shekel-grubbing pigs deserve an animals death! Keep it up!

Date: 2023-10-28 22:58:12 IP: 67.246.242.17
School: Cornell University - CU

Author: Hamas Fighter
Title:
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Content: Good. Let the rain of retribution turn the zionist entity into a storm of hellfire. Let
every nazi fascist genocidal jew die from their own hypocrisy. The defenders of Palestine
will not stay silent!

9, In my training and experience the forgoing posts are threats within the meaning of
the Subject Offense. In response to these threats, Cornell University deployed law enforcement
personnel to help protect the locations where Jewish students congregate. Students have reported
feeling unsafe on campus, some have chosen to relocate off campus, and others have had their
relatives pick them up and bring them home.

Identification of Patrick Dai

10. On the October 30, 2023, the FBI served an emergency disclosure request to
Charter Communications for IP Address 1, which resolved to a person and residence affiliated
with Dai.

LL. On October 30, 2023, as part of a joint investigation into the referenced statements
and threats, the FBI spoke with investigators assigned to the Cornell University Police Department
who conducted searches of their databases, confirming that Dai is a current student at Cornell
University.

12. On October 31, 2023, | participated in an FBI interview of Dai at the Cornell Police
Department. During the interview, which was audio and video recorded, Dai admitted, after
receiving Miranda warnings, that he was the person who used the internet to post the threatening
messages described above.

CONCLUSION
13. Based on the information described above, there is probable cause for the Court to

authorize a criminal complaint charging Dai with violating 18 U.S.C. § 875(c).
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ATTESTED TO BY THE APPLICANT IN ACCORDANCE WITH THE REQUIREMENTS OF
RULE 4,1 OF THE FEDERAL RULES OF CRIMINAL PROCEDURE.

Pa fl

Michael Renn
Special Agent
Federal Bureau of Investigation

I, the Honorable Hon. Thérése Wiley Dancks, United States Magistrate Judge, hereby
acknowledge that this affidavit was attested to by the affiant by telephone on October 31, 2023, in

“CAL Rule 4.1 of the Kederal Rules of Criminal Procedure.

Hon. Phiérése Wiley Dancks —)
UNITED STATES MAGISTRATE JUDGE

